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 1   SCOTT A. SUGARMAN (No. 68277)
     SUGARMAN & CANNON
 2
     385 Grand Avenue, Suite 300
     Oakland, Ca. 94610
 3
     Telephone: (510) 272-0600
 4
     Facsimile: (510) 835-4958
     scottsugar@aol.com
 5
     Attorneys for Defendant
 6          JONATHAN FORD

 7

 8
                                     IN THE UNITED STATES DISTRICT COURT
 9
                                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                                  )     No. CR 06-00346 DLJ (WDB)
12
                                                                )
13
              Plaintiff,                                        )
                                                                )
14   v.                                                         )     STIPULATION TO MODIFY
                                                                )     CONDITIONS OF PRETRIAL
15   JONATHAN FORD,                                             )     RELEASE AND ORDER
                                                                )
16            Defendant.                                        )
                                                                )
17

18            One of the conditions of defendant John Ford’s pretrial release in this matter is that his

19   travel is restricted to the Northern District of California. John Ford has been invited to attend a
20   wedding in Grover Beach, California (Central District of California) on September 9, 2006. Mr.
21   Ford would like to attend that wedding and would leave to travel from the Northern District of
22   California on September 8, 2006 to attend the wedding and would return to this District on
23
     September 10, 2006.
24
              Mr. Ford has informed Pretrial Services Officer Betty Kim of his desire to attend this
25
     wedding and has informed her of the name, address and telephone number of the inn where he will
26
     stay, which is located in nearby Pismo Beach, California. Ms. Kim has no objection to Mr. Ford
27
     traveling to this wedding.
28




     Stipulation to Modify Conditions of Pretrial Release                                                  1
     Case 4:06-cr-00346-YGR                    Document 87           Filed 09/01/06                   Page 2 of 2




 1

 2            The parties STIPULATE that this Court may modify the pretrial release conditions of John
 3   Ford to permit him to travel to and from this wedding in Grover Beach, California, from September
 4   8, 2006 through September 10, 2006.
 5

 6   DATE: 9/1/06                                           _____/s______________________
                                                            Scott A. Sugarman
 7                                                          Attorney for John Ford
 8

 9   DATE: 9/1/06                                           _______/s_______________________
                                                            George Bevan, Jr.
10                                                          Assistant United States Attorney
                                                                          S DISTRICT
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     SO ORDERED.                                                      T




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     DATED: September 1, 2006
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14                                                                                       Brazil
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17                                                          UNITED STATES MAGISTRATE JUDGE

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     Stipulation to Modify Conditions of Pretrial Release                                                           2
